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                                         No. 24-3259
             __________________________________________________________________

                 In the United States Court of Appeals for the Ninth Circuit

                                        WORLD VISION, INC.,
                                        Defendant-Appellant,
                                                    v.
                                          AUBRY MCMAHON,
                                          Plaintiff-Appellee.


                          Appeal from the United States District Court
                            for the Western District of Washington
                                   Honorable James L. Robart
                                      (2:21-cv-00920-JLR)
             __________________________________________________________________
                       DEFENDANT-APPELLANT’S OPENING BRIEF
              __________________________________________________________________
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                          CORPORATE DISCLOSURE STATEMENT
                 Pursuant to Federal Rule of Appellate Procedure 26.1, Defendant-

              Appellant World Vision, Inc. states that it does not have a parent
              corporation and does not issue any stock.

                                                        /s/ Daniel H. Blomberg
                                                        Daniel H. Blomberg




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                                  JURISDICTIONAL STATEMENT
                The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1367,

             and 42 U.S.C. § 2000e-5(f)(3). The district court entered final judgment
             on May 14, 2024. 1-ER-2. The notice of appeal was timely filed on May
             21, 2024. 5-ER-1076. This Court has jurisdiction under 28 U.S.C. § 1291.
                                       STATEMENT OF ISSUES
                1. Whether McMahon’s claims are barred by the Religion Clauses’
             protections for selecting ministers and for deciding religious standards of
             membership.
                2. Whether McMahon’s claims are barred by Title VII and the WLAD.
                3. Whether McMahon’s claims are barred by the First Amendment’s
             expressive association protections.
                4. Whether McMahon’s claims are barred by the Free Exercise Clause.
                                            INTRODUCTION

                The question in this case is simple but significant: May religious
             ministries ask their employees to comply with their core religious
             teachings? The answer is yes.

                World Vision is a Christian ministry that asks its employees to uphold
             core Christian teachings in word and deed. This requirement is rooted in
             World Vision’s belief that “faithfulness in biblical belief and conduct” are
             “indispensable elements of being a credible witness to Jesus Christ.” And
             this requirement is clearly and regularly communicated to employees in
             job interviews, policies, and recurring training sessions.


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                Plaintiff Aubry McMahon applied to work at World Vision even though
             she disagrees with World Vision’s core understanding of Christianity.

             During her interview process, she was expressly asked if she agreed with
             World Vision’s religious beliefs and would comply with its religious
             standards of conduct, including its belief in traditional marriage—and

             McMahon said yes. But after receiving a job offer based on this
             agreement, she revealed she was in a same-sex marriage in direct
             violation of World Vision’s religious beliefs and standards of conduct.
             Once World Vision rescinded her offer, she sued under Title VII and the
             Washington Law Against Discrimination.
                McMahon’s claims are barred by multiple constitutional and statutory

             protections for religious freedom.
                First, they are barred by the Religion Clauses’ doctrine of church
             autonomy, which protects the freedom of religious groups both to select
             those who hold an important religious role and to set religious
             qualifications for members of their ministries. Here, McMahon’s claims
             violate both protections. She applied to serve in a position that plays a
             key public-facing role in carrying out World Vision’s religious mission—
             including leading staff devotionals, praying with supporters, and helping
             supporters grow in their understanding of God’s love for the poor. And
             she rejected World Vision’s religious standards of conduct for members of
             its ministry. Either violation, standing alone, is sufficient to bar her
             claims; both together make this a straightforward case.


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                Second, McMahon’s claims are barred by Title VII and the WLAD,
             which expressly protect religious ministries like World Vision.

             Specifically, Title VII provides that its prohibitions “shall not apply”
             when a religious organization makes an employment decision based on
             an employee’s religious “belief,” “observance,” or “practice”—which is

             precisely what World Vision did here. 42 U.S.C. §§ 2000e-1(a), 2000e(j).
             Title VII also allows employers to establish bona fide occupational
             qualifications that are reasonably necessary to an employer’s mission—
             which for World Vision includes asking employees who communicate its
             faith not to undermine that faith by their actions. The WLAD’s parallel
             provisions likewise bar McMahon’s claims.

                Third, McMahon’s claims are barred by the doctrine of expressive
             association, which requires strict scrutiny of laws that compel expressive
             groups to associate with individuals who undermine their expressive
             message. And the application of Title VII and the WLAD here cannot
             satisfy strict scrutiny—particularly when those laws categorically
             exempt small businesses constituting most employers nationwide, and
             when the Supreme Court has repeatedly (and unanimously) held that the
             government’s interest in eliminating sexual-orientation discrimination
             does not justify penalizing religious groups for adhering to their religious
             views on marriage. Fulton v. City of Philadelphia, 593 U.S. 522 (2021).




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                Fourth, McMahon’s claims are barred by the Free Exercise Clause,
             which prevents discriminatory legal burdens from being unnecessarily

             placed on religious exercise. Id.
                The district court’s contrary ruling is not only wrong—it poses a
             serious threat to separation of church and state. Since our nation’s

             founding, the Constitution has protected the freedom of religious
             organizations “to decide for themselves, free from state interference,
             matters of church government.” Kedroff v. St. Nicholas Cathedral, 344
             U.S. 94, 116 (1952). This includes the freedom to decide “that certain
             activities are in furtherance of an organization’s religious mission, and
             that only those committed to that mission should conduct them.” Corp. of

             Presiding Bishop v. Amos, 483 U.S. 327, 342 (1987) (Brennan, J.,
             concurring). That freedom extends to modern debates over sexual
             morality. As the Supreme Court said, “religious organizations” must be
             given “proper protection as they seek to teach” and “to advocate with
             utmost, sincere conviction that, by divine precepts, same-sex marriage
             should not be condoned.” Obergefell v. Hodges, 576 U.S. 644, 679-80
             (2015).
                Here, World Vision seeks to ensure that those who speak on its behalf
             faithfully reflect the view of marriage that Christianity has taught for
             millennia. If separation of church and state means anything, it means
             the government cannot force the Church to employ representatives who
             publicly reject its religious message.


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                                     STATEMENT OF THE CASE
                A. World Vision and its Religious Mission

                World Vision is a “Christian ministry dedicated to sharing the gospel
             of Jesus Christ” through “humanitarian outreach to children and
             families around the world who are poor and underserved.” 1-ER-8

             (quoting 3-ER-438 ¶18); 3-ER-537; accord Spencer v. World Vision, 633
             F.3d 723, 725 (9th Cir. 2011) (O’Scannlain, J., concurring). It was
             founded in 1950 by Christian minister Bob Pierce after he “saw that the
             power of the gospel was demonstrated in the actions of those who fed,
             clothed, and cared for the hurting.” 3-ER-537. Today, World Vision
             primarily serves “the world’s most vulnerable”—“those living in extreme

             poverty or fragile contexts,” who “disproportionately bear the brunt of
             evil” and of “broken relationships.” 3-ER-566. It helps those of any faith
             or no faith. 3-ER-427–31.
                World Vision works in and through partnership with donors, prayer
             supporters, and churches. 3-ER-438 ¶18. It annually trains more than
             100,000 pastors and faith leaders from partner churches, working with
             them to serve millions of children worldwide. 3-ER-574.
                World Vision, which is a nonprofit 501(c)(3) organization classified by
             the IRS as a church, 3-ER-442 ¶27(b), emphasizes its Christian identity
             and mission in every aspect of its ministry. Its Articles of Incorporation
             state that its purposes are exclusively religious, including to “perform
             the functions of the Christian church” in ways that “teach and preach


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             the Gospel,” “spread … the Christian religion,” and “render Christian
             service, both material and spiritual.” 3-ER-509–10. World Vision holds

             itself out to the public as a Christian organization, with “its faith in
             Jesus … at the heart of all it does.” 3-ER-442 ¶27(d) (cleaned up). Its
             logo, website, job applications, and public-facing materials reflect its

             Christian mission. Id. Its internal policies and practices do too. This
             includes weekly organization-wide chapel services, religious meetings
             for each department several times per week, and a “prayer-centered
             work environment” that incorporates prayer in daily operations and
             begins each fiscal year with a workday completely set aside for prayer.
             3-ER-628. World Vision has even published a Bible that includes

             commentary highlighting scriptural teachings on serving the poor. See
             3-ER-535–44; 5-ER-1075.
                B. World Vision’s Religious Personnel Policies
                World Vision’s religious mission is reflected in its personnel policies—
             including that it hires only Christians for all positions. 3-ER-443 ¶27(d).
             All employees must agree with World Vision’s religious beliefs as
             reflected in either its statement of faith or the Apostles’ Creed. 3-ER-
             555; 3-ER-582. This includes affirming World Vision’s belief in the
             resurrection and deity of Jesus Christ, the Trinity, and the forgiveness
             of sin through the Gospel. 3-ER-505.
                All employees must also agree that they will abide by World Vision’s
             religious Standards of Conduct, including outside the workplace. 3-ER-


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             582–83. Examples of prohibited conduct include “substance or alcohol
             over use or abuse,” “greed and indifference to the needs of the poor,”

             “malicious gossip,” and, as relevant here, “sexual conduct outside the
             Biblical covenant of marriage between a man and a woman.” 3-ER-583
             (citing Matthew 19:4-5, 1 Corinthians 6:9-19); 3-ER-586; 3-ER-554.

                World Vision sees this “common commitment” to “faithfulness in
             biblical belief and conduct” as an “indispensable element[ ] of being a
             credible witness to Jesus Christ.” 3-ER-549 (emphasis added); see also 1-
             ER-9–10; 3-ER-548. To World Vision, “[w]ords clarify the meaning of our
             deeds” and “deeds verify the integrity of our words about Jesus Christ.”
             3-ER-588. As an organization that conducts a significant part of its
             ministry through actions, World Vision believes that, to “work in a
             manner that draws people to Christ,” “we cannot separate who we are
             from what we do.” Id.

                Because World Vision’s religious expectations of employees are both
             substantial and important, they are discussed with all applicants as part
             of the interview process. 3-ER-582–86; 3-ER-484; 3-ER-594; 2-ER-150.

             An interviewer talks about World Vision’s religious beliefs and
             standards of conduct “to clarify expectations and assist candidates … in
             deciding whether or not World Vision is the right place for them to serve
             the Lord.” 1-ER-11 (cleaned up) (citing 3-ER-553, 3-ER-448 ¶40, 3-ER-
             582). If an applicant rejects those requirements, the interview process
             ends. 2-ER-333.


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                C. DCS Representatives: the “Voice, Face, and Heart” of World
                   Vision
                Plaintiff Aubry McMahon sought to join World Vision’s Donor Contact
             Services (DCS) department as a Customer Service Representative. 1-ER-
             12; 3-ER-435–36 ¶¶7-8. Representatives handle nearly all inbound and

             most outbound calls for World Vision, placing them on the front lines of
             its religious mission and ministry to donors, prayer supporters, and
             partner churches, inviting them to join World Vision “to serve the poor in
             Jesus’ name.” 4-ER-897; 4-ER-712; 5-ER-1044 ¶¶4-6. World Vision
             describes its representatives as “the Voice, Face, and Heart of World
             Vision.” 4-ER-897.

                            1. Job Description and Qualifications
                 Representatives must affirm World Vision’s religious beliefs and
             agree to abide by its standards of conduct. 3-ER-582–83; 3-ER-446 ¶34.
             As their job description explains, they are also expected to:
                       • “Help carry out our Christian organization’s mission, vision,
                         and strategies”;
                       • “Personify the ministry of World Vision by witnessing to
                         Christ and ministering to others through life, deed, word and
                         sign”;
                       • “[A]cquire and maintain donor relationships”;
                       • “Serve as a liaison [with] donors and the general public”;
                       • “Keep Christ Central in our individual and corporate
                         lives”;
                       • “Attend and participate in the leadership of devotions,
                         weekly Chapel services, and regular prayer”;


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                       • “Learn and effectively communicate World Vision’s
                         involvement in ministries and projects around the
                         world”; and
                       • “Be sensitive to Donor[s’] needs and pray with them
                         when appropriate.”

             3-ER-530–31.
                            2. Training and Ministry Objectives
                 Upon joining World Vision, representatives receive “9-11 weeks of
             formal advance training,” which “is more than any other advance
             training required of other World Vision employees.” 59-ER-1044 ¶7. This
             training covers such religious topics as “who we are in Christ,” “how to
             pray with donors,” “attending chapel,” and “leading and participating in
             devotions.” 2-ER-312; see also 2-ER-314; 5-ER-1051–60; 3-ER-653–81.
                 Extended training is necessary because World Vision entrusts its
             representatives with significant ministry responsibilities. For one, the
             “spiritual growth” of supporters, partners, and donors is a “primary
             concern” of representatives. 5-ER-1001. Representatives are expected to
             “engage with donors and supporters in a way that contributes to
             transformation of their values, beliefs, and behaviours so that they give,
             act and pray for the well-being of vulnerable children and help [to]

             overcome causes of poverty and injustice.” 4-ER-712.
                 Indeed, “[t]ransformation of donors is just as vital to World Vision as
             that of the children they sponsor.” 4-ER-815 ¶23. The representatives’
             “role is not just about the children (as vital as they are)”; rather,



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             representatives support the spiritual lives of World Vision’s supporters
             “by inspiring those donors who share World Vision’s faith and by sharing

             that faith with those who don’t.” 4-ER-825 ¶50; see also 3-ER-564; 5-ER-
             1020. World Vision’s goal is that its “relationship with donors and
             sponsors” through its representatives causes “changes … that are

             consistent with Christ’s concern for the poor as well as an enhanced
             relationship with God.” 3-ER-621. Thus, to World Vision, “[e]ffective
             Christian fundraising is an act of worship,” 5-ER-956, and “a form of
             ministry in itself.” 4-ER-823 ¶43.
                 Finally, World Vision expects representatives to support colleagues’
             “spiritual development.” 3-ER-637. As described below, this includes

             participating      in   and     leading    religious    meetings      with   fellow
             representatives, attending weekly chapel services, and consistently
             praying with coworkers for each other and World Vision’s mission.
                            3. Regular Duties
                Representatives engage with World Vision’s donors, supporters, and
             partners daily. 4-ER-813–15 ¶¶19, 23; 4-ER-897; see 1-ER-14.
             Representatives provide information and answer questions about World
             Vision’s work, ministry, and beliefs. 4-ER-825 ¶¶50-51; 5-ER-1044 ¶¶4-
             6; 3-ER-530–32; 3-ER-594–96; 5-ER-1062; 3-ER-653; 3-ER-422–33. This
             can include handling questions about World Vision’s beliefs on sexual
             morality and marriage. 3-ER-594–95. Representatives answer incoming
             inquiries and place outgoing calls to donors and partner organizations


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             and churches to teach and inform them about World Vision programs like
             collective fasts, religious programming for children and families, events

             and curriculum designed for church youth groups, and other religious
             initiatives. See, e.g., 5-ER-1064.
                Prayer is an “essential function[ ] of the role.” 2-ER-312. Praying is

             included in the job description, is a subject of training, and is directed
             and encouraged by supervisors. 3-ER-530–32; 4-ER-936; 2-ER-312, 316,
             320. In practice, representatives receive thousands of requests for prayer
             every year from supporters and partners, averaging about 150 to 200
             prayer requests daily. 4-ER-820 ¶37; 4-ER-687–89. Representatives
             regularly and personally pray with these supporters and partners on

             “diverse needs ranging from a mother’s biopsy to a recent widow’s
             troubled daughter to a family dairy farm’s fate.” 1-ER-15 (cleaned up); 4-
             ER-817–19 ¶¶30-33; 5-ER-1064–69; 5-ER-1071–73.

                Representatives also         “enhance the       spiritual    development” of
             coworkers through “devotions”—religious meetings where teams come
             together “for reading of Scripture and prayer for the daily work.” 3-ER-

             637; 4-ER-705. Devotions generally occur several days a week and are
             “Christ-centered” and “consistent with the teaching of Scripture.” 4-ER-
             705; 3-ER-531; 4-ER-709. Each representative is expected to take turns

             leading devotions. 2-ER-319.
                Finally, representatives participate in “worship every week” as part of
             a ministry-wide chapel service “focused on the work of Christ to the poor.”


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             3-ER-639. “The entire donor contact center shuts down during chapel,
             and every representative attends chapel.” 2-ER-319. From time to time,

             representatives also “participate in the leadership of … weekly Chapel
             services” and provide religious teaching and worship. 3-ER-531; 2-ER-
             247; 4-ER-816 ¶28; 5-ER-1074.

                D. Plaintiff Aubry McMahon
                Plaintiff Aubry McMahon disagrees with World Vision’s religious
             beliefs on Christianity and marriage. In her view, “the definition of
             Christianity is different for each person” because “Christianity, just like
             sexuality or religion, is fluid.” 2-ER-105, 145. For instance, she does not
             believe that the resurrection and the deity of Jesus Christ are essential

             to Christianity. 2-ER-143–44.
                McMahon also disagrees with Christians who believe that “marry[ing]
             someone of the same sex” is contrary to God’s will. 2-ER-125. She sees
             those beliefs as selectively interpreting the Bible and akin to beliefs that
             parents should “stone [their] first-born daughter once she has her
             menstrual period” or for “wearing blended clothing.” Id. For her,
             marriage is about “commitment to a person” “who you love,” “whoever
             that person may be, as long as it’s legal.” 2-ER-106.
                McMahon married her wife in September 2020. 1-ER-8. They are
             “huge advocates” for “the LGBTQ community.” 2-ER-166. Among other
             things, they go to Pride events, display Pride symbols publicly, and




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             conduct their “day-to-day lives … to show that [they] are supportive of
             the LGBTQ community.” 2-ER-115, 117.

                McMahon designed and sold t-shirts online advancing her views on
             marriage, such as a t-shirt with rainbow colors and the statement “Love
             is a terrible thing to hate.” 3-ER-403. She testified that this message

             “exemplifies” her “definition of marriage.” 2-ER-120.
                E. McMahon’s Application, Job Offer, and Rescission
                 In November 2020, McMahon applied to be a trainee Customer
             Service Representative at World Vision. 3-ER-497; 1-ER-17. The position
             would become a full-time role upon successful completion of training. 4-
             ER-810 ¶9.

                 World Vision’s initial interview with McMahon raised questions
             designed to ensure she was a spiritual fit for its ministry. 3-ER-482–84;
             2-ER-329–31, 333. McMahon was asked questions like “[h]ow is God
             involved in your life right now?” and “[w]hat are you learning and
             discovering about God?,” and asked to describe “[w]ho you believe Jesus
             Christ is and what influence or impact he has had on your personal
             life[.]” 3-ER-482–83.
                 World Vision explained that it seeks “individuals who not only share
             our Christian faith and values, but also live them out both in and outside
             of work” and that “employees are expected to be in alignment with
             behaviors described in our standards of conduct, which are biblically
             based.” 3-ER-483. World Vision then identified examples of behaviors


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             considered “not in alignment with [its] standards of conduct.” Id. This
             list included “[a]ny sexual conduct outside of a marriage,” with the

             explanation that World Vision “defines marriage as between a man and
             a woman.” Id.; 2-ER-150. Yet after this list, when asked if she had
             questions about World Vision’s beliefs and “standards of conduct,”

             McMahon said, “No not at all.” 3-ER-484; 2-ER-150.
                 World Vision emphasized that it was “important” for McMahon to
             understand its “expectations so that you can decide if we are the right
             organization for you,” and asked if McMahon was “willing and able to
             comply with the Standards of Conduct.” 3-ER-484. McMahon responded,
             “I’m aligned, yes!” Id.; 2-ER-150. At the end of the interview, McMahon

             was asked again if World Vision “seems like a good fit for you,” and she
             said, “Yeah absolutely!” 3-ER-484; 2-ER-150.
                But that was untrue. McMahon later testified that she sees World
             Vision’s view on marriage as “hate,” and its refusal to “hire somebody
             based off of who they love” as “very wrong.” 2-ER-120, 147. She “wouldn’t
             be comfortable” defending its beliefs on marriage. 2-ER-152. And she
             thinks the job’s requirement that representatives “keep Christ central in
             [their] individual … lives” is, “to be blunt, none of [World Vision’s]
             business.” 2-ER-144–45. She understood that World Vision had a
             different view of Christianity than her own, and she rejected its views. 2-
             ER-142–43. McMahon never mentioned her same-sex marriage or her
             religious disagreements during the interview process. 2-ER-150.


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                Based on her professed “alignment,” McMahon received a written
             offer on January 5, 2021. See 1-ER-17. McMahon immediately responded

             via email with a “quick question”:
                    My wife and I are expecting our first baby in March and I
                    wanted to see if I would qualify for any time off since I’ll be a
                    new employee? I will be the one having the baby so I just
                    wanted to check to see if any time would be allowed off.
             3-ER-436 ¶9; 3-ER-477. After receiving this email, World Vision became
             concerned that McMahon was not aligned with World Vision’s
             theological commitments. 2-ER-255. The situation was elevated to
             senior supervisors Melanie Freiberg and Christine Talbot, 2-ER-255,
             260, who discussed how to “correctly and lovingly” respond consistent

             with “World Vision’s Biblical marriage policy [and] the Scriptures and
             doctrines underlying it,” 3-ER-451, 452 ¶¶50-51; see 1-ER-19, 20. After
             reaching out to speak with her, World Vision confirmed that McMahon

             was unable to comply with its religious standards of conduct and
             rescinded her offer. 2-ER-350.
                F. Proceedings Below
                 McMahon sued World Vision for sex, sexual-orientation, and marital-
             status discrimination under Title VII and the WLAD. Dkt.1. After
             discovery, the parties cross-moved for summary judgment. 5-ER-1046;

             Dkt.26.
                 The district court initially granted summary judgment to World
             Vision under the church autonomy doctrine. 1-ER-73. The court found


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             that both parties agreed World Vision had rescinded McMahon’s job offer
             because of her inability to meet “one of the fundamental requirements of

             employment”: complying with World Vision’s religious standards of
             conduct. 1-ER-91. Under “numerous cases” cited by World Vision and
             unrebutted by McMahon, McMahon’s claims thus violated church

             autonomy. 1-ER-94. The court noted that church autonomy might not
             bar a claim where there was no “religious justification” by the religious
             employer, or where there was “sufficient” evidence that the “justification
             was pretext,” but that neither was true here. 1-ER-97.
                 McMahon moved for reconsideration, arguing that because World
             Vision had acted under a “facially discriminatory hiring policy” the court

             needn’t analyze pretext and could resolve the case under “neutral
             principles of law,” without becoming entangled in religion. 5-ER-1048,
             1049. The district court agreed and reversed its decision. 1-ER-60.
                 The court later rejected World Vision’s remaining defenses under the
             ministerial exception, the Title VII and WLAD exemptions, the freedom
             of expressive association, and the Free Exercise Clause, and granted
             summary judgment to McMahon. 1-ER-6. In lieu of a jury trial on
             damages, the parties stipulated to damages of $120,000, and the court
             entered final judgment for McMahon. 1-ER-2.




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                                       STANDARD OF REVIEW
                This Court reviews summary judgment “de novo, viewing the evidence

             and drawing all reasonable inferences in the light most favorable to the
             non-moving party.” Behrend v. S.F. Zen Ctr., 108 F.4th 765, 768 (9th Cir.
             2024). It also reviews de novo legal determinations and mixed questions
             of law and fact that implicate the Religion Clauses. Puri v. Khalsa, 844
             F.3d 1152, 1157 (9th Cir. 2017).
                                     SUMMARY OF ARGUMENT
                McMahon’s claims are barred by multiple protections for religious
             freedom, each independently requiring reversal.
                I. McMahon’s claims are barred by the First Amendment’s protections
             for church autonomy, which guarantee religious “independence in
             matters of faith and doctrine and in closely linked matters of internal
             government.” Our Lady of Guadalupe Sch. v. Morrissey-Berru, 591 U.S.

             732, 747 (2020). McMahon’s claims violate two distinct “component[s]” of
             church autonomy. Id. at 746. First, they violate World Vision’s right to
             freely select those who would, like McMahon, serve as a “messenger” of

             its faith, id. at 754, and have an important “role in carrying out [its]
             mission,” Behrend, 108 F.4th at 769. Second, they violate World Vision’s
             right to sincerely determine that McMahon did not meet “the standard of
             morals” required to be a member of its religious organization. Serbian E.
             Orthodox Diocese v. Milivojevich, 426 U.S. 696, 713-14 (1976).




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                 II. McMahon’s claims are barred by the very statutes she invokes.
             Title VII exempts religious employers when, as here, they make

             employment decisions based on an employee’s religious beliefs or
             conduct. 42 U.S.C. §§ 2000e(j), 2000e-1(a). Title VII also protects them
             when they can show, as here, that sex is a bona fide occupational

             qualification (“BFOQ”). Id. § 2000e-2. The WLAD likewise provides an
             applicable religious exemption and BFOQ defense. Wash. Rev. Code
             §§ 49.60.040(11), 49.60.180(1).
                 III. McMahon’s claims are barred by the First Amendment’s
             protection for expressive association. McMahon’s claims impair World
             Vision’s ability to express its religious views, triggering strict scrutiny,

             and her claims cannot meet that high standard. Boy Scouts of Am. v.
             Dale, 530 U.S. 640 (2000).
                 IV. Finally, McMahon’s claims fail under the First Amendment’s Free
             Exercise Clause. Her claims infringe World Vision’s religious exercise in
             a way that is not neutral or generally applicable, which again triggers
             and fails strict scrutiny. Fulton 593 U.S. 522; Tandon v. Newsom, 593
             U.S. 61 (2021).1

             1  The Free Exercise Clause also requires strict scrutiny here because
             McMahon’s claims “impose[ ] a substantial burden on religious exercise.”
             Fulton, 593 U.S. at 614 (Alito, J., concurring). The same is true under the
             Religious Freedom Restoration Act for McMahon’s Title VII claims.
             EEOC v. Catholic Univ. of Am., 83 F.3d 455 (D.C. Cir. 1996). World
             Vision recognizes these arguments are currently barred by Employment


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                                               ARGUMENT
             I. McMahon’s claims are barred by the law of church autonomy.

                The Religion Clauses of the First Amendment protect the “principle of
             church autonomy,” which guarantees religious groups “independence in
             matters of faith and doctrine and in closely linked matters of internal

             government.” Our Lady, 591 U.S. at 747. “State interference” to “dictate
             or even to influence such matters” would both “obviously violate the free
             exercise of religion” and “constitute one of the central attributes of an
             establishment of religion.” Id. at 746.
                Together, the Religion Clauses forbid civil courts from interfering in
             “essentially religious controversies” over matters concerning “theological

             controversy, church discipline, ecclesiastical government, or the
             conformity of the members of the church to the standard of morals
             required of them.” Milivojevich, 426 U.S. at 709, 713-14. This rule has
             long reflected the proper “relations of church and state under our system
             of laws,” protecting the church from dissident members using “secular
             courts” for leverage in religious disputes, and protecting the state from
             entanglement in matters beyond its jurisdiction or competence. Watson
             v. Jones, 80 U.S. (13 Wall.) 679, 727, 729, 733 (1872).




             Division v. Smith, 494 U.S. 872 (1990), and Sutton v. Providence St.
             Joseph Medical Center, 192 F.3d 826 (9th Cir. 1999), but preserves them
             for future review.

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                 One “component” of church autonomy is the ministerial exception,
             which bars government interference in religious organizations’ personnel

             decisions concerning individuals expected to perform important religious
             duties, Our Lady, 591 U.S. at 746-47, even when a religious organization
             offers no “religious reason” for its decision. Hosanna-Tabor v. EEOC, 565

             U.S. 171, 192, 194 (2012). Another component bars civil interference
             where there is a sincere religious reason for a personnel decision—
             particularly where the decision was over failing to meet “the standard of
             morals” required of “members of the church.” Milivojevich, 426 U.S. at
             713-14.
                 Here, both components independently bar McMahon’s claims. First,

             she was expected to perform important religious functions as a
             representative of World Vision. Second, she rejected the religious
             standards required to be a member of World Vision’s faith group. Either
             way, her claims unconstitutionally interfere with World Vision’s
             “independence” in “matters of faith and doctrine” and “internal
             government.” Our Lady, 591 U.S. at 747. 2




             2  Both “church autonomy” and “ministerial exception” are judicial
             shorthand. Our Lady, 591 U.S. at 746-47. “Church” autonomy applies to
             all faiths and encompasses entities that are not houses of worship, just
             as the “ministerial” exception extends beyond faiths that use the title
             “minister.” Id.


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                A. McMahon’s claims are barred by the Religion Clauses’
                   protection for ministerial selection.
                The ministerial exception protects “a religious group’s right to shape
             its own faith and mission,” Hosanna-Tabor, 565 U.S. at 188-89, by
             respecting its independence “to select, supervise, and if necessary,

             remove a minister without interference by secular authorities.” Our
             Lady, 591 U.S. at 747.
                The “purpose of the exception” is to ensure that the authority over
             “who will minister to the faithful” is “the church’s alone.” Hosanna-Tabor,
             565 U.S. at 194-95. Such ministerial decisions are always “strictly
             ecclesiastical,” id., because they concern the “lifeblood” of a religious

             group. Werft v. Desert Sw. Ann. Conf., 377 F.3d 1099, 1102-03 (9th Cir.
             2004). Offering a “religious reason” isn’t necessary to “safeguard a
             church’s decision to fire a minister” from civil review, Hosanna-Tabor,
             565 U.S. at 194-95; even to require one is impermissible church-state
             entanglement. Alcazar v. Corp. of the Catholic Archbishop, 627 F.3d
             1288, 1291 (9th Cir. 2010) (en banc). Accordingly, McMahon’s claims are

             barred because she sought to hold a ministerial role for World Vision.
                    1. The ministerial exception applies to employees who are
                       important to an organization’s religious mission.
                To decide whether an individual holds a ministerial role, “[w]hat
             matters, at bottom, is what [she] does.” Our Lady, 591 U.S. at 753. If she
             is entrusted with duties that are “important” to the organization’s
             “spiritual and pastoral mission,” the ministerial exception applies. Werft,


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             377 F.3d at 1101 n.4. This is true not just for “clergy” but for “any
             employee who … serves as a messenger” of the faith, Our Lady, 591 U.S.

             at 747, 754, or who otherwise plays a “role in carrying out [the
             organization’s] mission,” Behrend, 108 F.4th at 769. That is an
             intentionally “broad” standard, id. at 766, and necessarily so to account

             for the many religious roles within our nation’s “rich diversity” of faith
             groups, Our Lady, 591 U.S. at 756.
                In Behrend v. San Francisco Zen Center, for example, this Court
             applied the exception to a “work practice apprentice” at a Buddhist
             temple. 108 F.4th at 766, 769-71. The apprentice was not a priest, rabbi,
             imam, guru, or even someone who “transmit[ted] the faith” to others. Id.

             at 767-69. While he occasionally assisted with some explicitly religious
             activities, he “mostly” performed “menial work” such as “maintenance,
             kitchen, and guest services.” Id. at 767, 769-70. But what mattered was
             that he “had a role in carrying out the Center’s mission.” Id. at 769
             (cleaned up). In the Temple’s sincere view, even his “menial work” was
             “an essential component of Zen training” and thus a religious act. Id. This
             Court held it must “defer to the Center’s view that [the apprentice’s]
             duties are, by nature, religious” to avoid religious entanglement. Id. at
             770 n.3. Because “the purpose of the exception is to ensure a religious
             organization’s independence in matters of faith,                   doctrine, and
             government,” it “applies just as readily to those who perform vital, but
             not necessarily hierarchical, functions.” Id. at 770.


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                Similarly, in Billard v. Charlotte Catholic High School, the Fourth
             Circuit found a substitute English and drama teacher was a minister.

             101 F.4th 316, 331-33 (4th Cir. 2024). Billard had no religious training
             or title, and primarily performed secular duties. Id. But he was
             nonetheless a minister because the school “expected its teachers to model

             faith” and because he “beg[a]n each class with prayer,” “attend[ed] Mass
             with his students,” and “on rare occasions” had “fill[ed] in” for religion
             classes. Id. at 331-32. The court explained that “even if the tasks” in
             question did “not advertise their religious nature,” what mattered was
             that they were “central to the[ school’s] religious missions.” Id.
                Behrend and Billard are just two of many such cases. Courts have

             applied the ministerial exception to communications managers, Alicea-
             Hernandez v. Catholic Bishop, 320 F.3d 698, 702-04 (7th Cir. 2003), food
             inspectors, Shaliehsabou v. Hebrew Home, 363 F.3d 299, 301 (4th Cir.
             2004), guidance directors, Starkey v. Roman Catholic Archdiocese, 41
             F.4th 931, 941 (7th Cir. 2022), organists, Sterlinski v. Catholic Bishop,
             934 F.3d 568, 569-72 (7th Cir. 2019), music directors, EEOC v. Roman
             Catholic Diocese, 213 F.3d 795, 802-05 (4th Cir. 2000), and school
             principals, Orr v. Christian Bros. High Sch., No. 21-15109, 2021 WL
             5493416 (9th Cir. Nov. 23, 2021), to name just a few. Throughout, the
             rule is that a religious institution can “choose its representatives”
             without civil interference. Alcazar, 627 F.3d at 1291.




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                    2.      McMahon’s claims violate the Religion                        Clauses’
                            protection for ministerial selection.
                World Vision’s representatives likewise fall within the ministerial
             exception. To advance its religious mission, World Vision entrusts its
             representatives to be the voice and face of its ministry to supporters and

             to minister to colleagues. 4-ER-826 ¶¶56-57. Taken together with their
             required religious qualifications and uniquely lengthy religious training,
             this is more than enough to show that the representatives have an
             important “role in carrying out [World Vision’s] mission.” Behrend, 108
             F.4th at 769.
                         a. Ministry to supporters and partners
                Representatives serve as the “voice, face, and heart” of World Vision

             to its supporters and partners. 4-ER-813 ¶17, 815 ¶23; 4-ER-897; 2-ER-
             246. Representatives “interact all day” with these audiences, serving as
             their main point of contact to the ministry. 4-ER-815 ¶23. In these daily
             conversations, representatives “shar[e]” World Vision’s “mission, vision,
             and strategies” and “how World Vision witnesses to Christ in its work.”
             4-ER-823–26 ¶¶42, 51-52, 57. Per the job description, representatives

             speak for World Vision to “donors” and the “general public,” and must
             “effectively communicate World Vision’s involvement in ministries and
             projects around the world.” 3-ER-530–31; see also 3-ER-424. These

             include Christian discipleship programs; biblical worldview programs;
             and training for pastors, faith leaders, and churches. 3-ER-453 ¶54; 3-
             ER-662–63; 3-ER-577–78.


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                Further, the message they convey is deeply religious. Representatives
             are entrusted with “inspiring those donors who share World Vision’s

             faith” and “sharing that faith with those who don’t.” 4-ER-825 ¶¶50, 54.
             Their “goal” is “that every current and potential donor and partner will
             clearly understand [World Vision’s] mission to bear witness to Jesus

             Christ,” and they are to communicate “in ways that encourage people to
             respond to the gospel.” 4-ER-825 ¶54 (cleaned up).
                Indeed, World Vision’s representatives play a “vital” role in
             “transform[ing]” the lives of its supporters by “increas[ing] their
             understanding of God’s love for the poor” and thus “be[coming] … more
             like    Christ.”   4-ER-815      ¶23;    5-ER-1019.      Representatives   help

             “transform[ ]” supporters “so that they give, act and pray for the well-
             being of vulnerable children.” 4-ER-712; 3-ER-662–63. Over time, the
             representatives’ “relationship[s] with donors and sponsors” effect
             spiritual “changes in values, giving patterns, and lifestyles” and achieve
             “an enhanced relationship with God.” 3-ER-621.
                 For this reason, World Vision considers representatives’ fundraising
             as “an act of worship”—“as spiritual as giving a sermon, entering a time
             of prayer, visiting the sick, or feeding the hungry.” 5-ER-947 (quoting
             theologian Henri Nouwen), 956; 4-ER-823 ¶¶43-44.
                By raising support, representatives are “giving people an opportunity
             to partner with [World Vision] in stewarding God’s resources according
             to God’s will and ways.” 5-ER-983. World Vision thus sees “giving” as


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             “integral” to “followers of Christ,” “a mandatory act of obedience,” and “a
             worshipful act of love.” 5-ER-948; 5-ER-996; 3-ER-548; 5-ER-952; see

             also 5-ER-1075 (at pp.1613, 1716). And as supporters and partners “put
             their faith into action” in this way, “their own lives are transformed” as
             “the wonderful irony of Christ’s words awes their hearts: ‘It is more

             blessed to give than to receive.’” 3-ER-538.
                Representatives also raise prayer support for children, encouraging
             World Vision’s supporters to keep the children they serve in their
             prayers. 4-ER-820–21 ¶38; see, e.g., 5-ER-1065, 1067. And the
             representatives themselves regularly pray for the children, both with
             supporters and with colleagues. 4-ER-820–21, 824 ¶¶38, 47.

                Finally, representatives are expected to pray with and for
             supporters—which they do thousands of times per year. See 3-ER-531;
             4-ER-816, 820–22 ¶¶29, 37-41; 2-ER-315; 4-ER-687, 689. This
             responsibility is “uniquely expected” of representatives. 4-ER-811–13
             ¶¶12-17; 2-ER-353. When speaking with supporters and the public,
             representatives are trained to “[a]sk … how we can specifically be
             praying” and, as appropriate, “offer to pray” right then and there. 5-ER-
             1062–63; 5-ER-1007. Representatives are sometimes tasked with calling
             supporters specifically to offer prayer. 2-ER-314; 5-ER-1066–69. And




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             representatives routinely pray with colleagues for specific supporters. 2-
             ER-315; 4-ER-687, 689. 3
                       b. Ministry to colleagues
                 Representatives minister to their colleagues in several ways. One is
             by attending and “participat[ing] in the leadership of devotions,” 3-ER-
             531, to “enhance the spiritual development” of the staff, 3-ER-637; see
             also 4-ER-705; 4-ER-903; 4-ER-814 ¶20; 2-ER-319. The representatives
             must ensure the devotional times they lead “spiritual[ly] nurture” their

             colleagues, are “Christ-centered,” and follow “the teachings of Scripture.”
             4-ER-705; see 4-ER-707.
                 Similarly, representatives are required to personally model World
             Vision’s faith to colleagues. 4-ER-825–26 ¶¶52, 57. World Vision believes
             that “[e]ffective Christian witness” starts “in the lives of staff and how
             [they] … serve one another,” such that the “workplace reflects [their]

             Christian unity,” 3-ER-553, 3-ER-549, and protects the “integrity” of
             World Vision’s ministry, 4-ER-826 ¶57.




             3  One representative prayed with a pastor for “God’s direction” and
             “discernment” in the restarting of a ministry. 5-ER-1064. Another prayed
             for a caller’s mother “who had to make the decision today to remove life
             support” from a family member dying from COVID. 5-ER-1066. A
             different caller received prayer when she shared with the representative
             that she “was feeling a little lost” because she was “worried she was going
             to lose her job.” 5-ER-1071.


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                Further, representatives attend, and sometimes lead, weekly
             organization-wide chapel services. 3-ER-639; see 2-ER-247; 2-ER-312; 3-

             ER-531; 4-ER-815–20 ¶¶25-36. Representative-led chapels include
             prayer, Bible reading, testimonials, and worship. See, e.g., 4-ER-816 ¶28.
                Representatives also pray with their colleagues for the religious

             mission of World Vision. 4-ER-811–13 ¶¶12-17. “Prayer plays a central
             role in World Vision’s ministry.” 3-ER-639. Staff are “encourage[d] … to
             begin and end each work or project meeting in prayer,” and World Vision
             “begin[s] each fiscal year with an entire day dedicated to” prayer. 3-ER-
             639; 4-ER-812, 824 ¶¶15, 46.
                       c. Prerequisites for ministry
                To ensure that representatives can carry out these important
             religious functions, World Vision carefully interviews applicants to
             ensure that they agree with its Christian faith and will abide by its

             standards of conduct. See 2-ER-149–51; 3-ER-446–47; 3-ER-582–83.
             World Vision believes that an “indispensable element[ ]” of being a
             “credible witness to Jesus Christ” is embodying “faithfulness in biblical
             belief and conduct.” 3-ER-548–49; 4-ER-811, 822, 825–26 ¶¶12, 42, 48,
             54, 57. Accordingly, the sensitive religious functions that representatives
             perform can be entrusted only to those who agree to follow World Vision’s

             religious commitments. 4-ER-825–26 ¶¶48-57; see also 3-ER-565; 5-ER-
             1020.




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                Further, representatives receive more “formal advance training”—
             nine to eleven weeks—“than any other … World Vision employees.” 5-

             ER-1044 ¶7. This includes training on World Vision’s religious “mission,
             vision, core values, and standards of Christian witness.” 3-ER-555
             (cleaned up); 2-ER-312. It also includes instruction on praying with

             supporters, participating in chapels, and leading devotions. 2-ER-312.
             And it includes opportunities to “practic[e] prayer,” refine “their
             judgment [about] how and when to ask the donors about prayer,” and
             learn about prayer with supporters from experienced representatives. 2-
             ER-314, 319. If representatives struggle to meet expectations on matters
             such as prayer, they receive remedial training. 2-ER-316, 320.

                                                   ****
                Representatives’ duties, training, and religious expectations show
             that they are ministers—and more clearly than in many other cases that
             have applied the ministerial exception. They represent and are
             “responsible for conveying the message of [World Vision] to the public.”
             Alicea-Hernandez, 320 F.3d at 702-04; accord Fratello v. Archdiocese of
             N.Y., 863 F.3d 190, 208 (2d Cir. 2017) (representation to “community and
             the public”); Petruska v. Gannon Univ., 462 F.3d 294, 306 (3d Cir. 2006)
             (“public representative,” “voice to the faithful”). They are entrusted to
             grow the spiritual lives of those they serve. Hosanna-Tabor, 565 U.S. at
             191-92; Our Lady, 591 U.S. at 756-57. They regularly lead prayer and
             participate in chapel services. Our Lady, 591 U.S. at 750, 757; Billard,


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             101 F.4th at 331. They lead devotional teaching. Our Lady, 591 U.S. at
             757. And they are required to embody, model, and otherwise “live up to”

             the “religious precepts that [they] espouse[ ].” Hosanna-Tabor, 565 U.S.
             at 201 (Alito, J., joined by Kagan, J., concurring); Our Lady, 591 U.S. at
             757; Fratello, 863 F.3d at 208; Billard, 101 F.4th at 330-31.

                 Indeed, this case is like Behrend, only easier. There, an employee was
             a   minister    although      he   performed      “mostly    menial”      tasks   in
             “maintenance, kitchen, and guest services,” and neither taught nor led
             the faith. 108 F.4th at 769, 770 & n.3. What mattered was that his
             religious employer sincerely viewed his duties as “by nature, religious.”
             Id. at 770 n.3. Here, as in Behrend, World Vision entrusts

             representatives to perform some tasks that may seem “menial” to some,
             but that it sincerely views as fundamentally religious. And unlike in
             Behrend, World Vision also entrusts representatives to lead indisputably
             religious endeavors, such as sharing the faith, praying with supporters,
             expressing World Vision’s religious mission to the public, and guiding
             colleagues through religious devotions. Thus, even more than the
             apprentice in Behrend, representatives have “a ‘role in carrying out
             [World Vision’s] mission.’” 108 F.4th at 769.
                 3. The district court’s contrary conclusion was in error.
                 The district court rejected the ministerial exception by repeating
             errors foreclosed by precedent.




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                First, the court discounted the significance of the requirements that
             McMahon be a member of World Vision’s faith, follow World Vision’s

             moral expectations, lead devotions, attend chapel, and help carry out
             World Vision’s mission since those requirements applied to other
             employees too. 1-ER-34, 37–38. But Hosanna-Tabor unanimously

             rejected that same line of reasoning, explaining the lower court “gave too
             much weight to the fact that” non-ministers “performed the same
             religious duties” as ministers. 565 U.S. at 193. This, the Court said, was
             “error[ ]” and “cannot be dispositive” of ministerial status. Id. at 192-93.
                A contrary rule would have perverse consequences. It would deprive
             devout religious communities of the protections of the Religion Clauses—

             because all a convent’s nuns hold religious roles, none would be
             “ministers.” Similarly, by grading on a spiritual curve, it would “in effect
             penalize religious groups” that entrust a broad range of personnel with
             “substantial” religious functions, while favoring those that confine
             religious functions to a select few. Fratello, 863 F.3d at 207.
                Second, the court suggested that praying with supporters is
             unimportant because it supposedly isn’t “strictly required.” 1-ER-36.
             But, again, courts have rejected that view. Grussgott v. Milwaukee
             Jewish Day Sch., 882 F.3d 655, 660 (7th Cir. 2018) (“voluntarily
             performed religious functions” that were not “required” still showed that
             role was “connected to the school’s Jewish mission”). Even if
             representatives won’t be immediately fired if they don’t pray at every


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             opportunity, what matters is that World Vision undisputedly entrusts,
             expects, and trains representatives to perform this key religious

             function. See Our Lady, 591 U.S. at 736, 754, 757 (teacher was
             “entrusted” to perform religious duties); Starkey, 41 F.4th at 941
             (focusing on “what an employee is entrusted to do”). And here, the record

             is clear that representatives pray often with supporters and would
             receive remedial training for failing to do so. Supra at 11; 2-ER-316, 320.
             Indeed, McMahon admitted that she knew prayer with supporters would
             be part of the role. 2-ER-151.4
                 Third, the court viewed the job title as insufficiently religious. 1-ER-
             32–33. But having a religious title is unnecessary, Our Lady, 591 U.S.
             at 751, which is why principals, communications directors, and a Work
             Practice Apprentice have been ministers. Supra at 23. And there is
             nothing inherently non-religious about the title here. This Court has

             long recognized the right of religious groups to “choose [their]
             representatives.” Alcazar, 627 F.3d at 1292 (emphasis added).




             4  The court also said it wanted more “clarity” on whether
             representatives must “lead team devotions.” 1-ER-16. That fails for the
             reasons explained, and for another one: the record is clear that leading
             devotions is a job requirement. 2-ER-319; 3-ER-531–32; 2-ER-354. The
             sole source of confusion was a witness’s statement in an individual-
             capacity deposition that she was unsure, 2-ER-247—but then she
             researched the question and provided a definitive answer at her later
             Rule 30(b)(6) deposition. 3-ER-438 ¶16; 2-ER-310, 319.

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                Fourth, the court placed weight on the lack of a religious
             commissioning. 1-ER-33. But Our Lady rejected a virtually identical

             argument in concluding that religious groups, not civil courts, determine
             what adequate preparation for a minister entails. Our Lady, 591 U.S. at
             759. And this Court has likewise long rejected attempts to require

             ordination for ministerial status. Alcazar, 627 F.3d at 1291. Courts can’t
             second-guess World Vision’s choice not to conclude the representatives’
             lengthy training process—the longest for any World Vision role—with a
             formal religious commissioning. Behrend, 108 F.4th at 770 n.3.
                In sum, the district court erred by refusing to apply the ministerial
             exception.
                B. McMahon’s claims are barred by the Religion Clauses’
                   protection for religious membership decisions.
                McMahon’s claims also fail under another component of church
             autonomy: the freedom to set religious qualifications for being a member
             of a religious organization’s ministry. Here, it is undisputed that
             McMahon rejected and violated religious beliefs that are essential to
             being a member of World Vision’s religious community. And where a
             religious group makes a personnel decision grounded in its sincere

             religious beliefs—particularly a decision rooted in an individual’s failure
             to follow “the standard of morals” required of its “members,”
             Milivojevich, 426 U.S. at 713-14—then that decision is protected by the
             Religion Clauses.



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                    1. Church autonomy ensures religious groups can set
                       religious standards for their members.
                As Our Lady explained, “the general principle of church autonomy” is
             not limited to the ministerial exception. 591 U.S. at 747. Instead, it is a
             “broad principle” that also protects “internal management decisions that

             are essential to [a religious] institution’s central mission.” Id. at 746,
             747; accord Puri, 844 F.3d at 1157 (recognizing church autonomy
             protections distinct from ministerial exception).
                That protection includes decisions about the religious qualifications
             for membership or employment in a religious community. The Supreme
             Court has long held that civil courts “have no power” to entertain

             lawsuits challenging “ordinary acts of church discipline, or of excision
             from membership.” Bouldin v. Alexander, 82 U.S. (15 Wall.) 131, 139
             (1872). Religious groups thus have autonomy to decide whether a
             member failed to meet “the standard of morals required of them.”
             Milivojevich, 426 U.S. at 714.
                This Court has likewise explained that civil courts cannot second-

             guess whether a plaintiff has met “religious eligibility requirements” for
             a role within a religious body. Puri, 844 F.3d at 1167. Religious bodies
             must be “afforded great latitude” in making those determinations, and

             where they have “concluded that they no longer want to associate” with
             a member, “they are free to make that choice.” Paul v. Watchtower Bible
             & Tract Soc’y of N.Y., 819 F.2d 875, 883, 878 n.1 (9th Cir. 1987); Headley



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             v. Church of Scientology, 687 F.3d 1173, 1180 (9th Cir. 2012) (“A church
             is entitled to stop associating with someone who … do[es] not act in

             accordance with church doctrine.”).
                What is true of members generally is even more true of members who
             are employed to represent the church, its message, and its mission.

             Determining that “only those committed to [the church’s] mission should
             conduct” its activities is a “means by which a religious community
             defines itself.” Amos, 483 U.S. at 342 (Brennan, J., concurring). Where a
             religious employer has a sincere “religious justification” for finding an
             applicant fails to meet the “religious eligibility requirements” necessary
             to join its religious community, civil courts decline to replace that

             religious judgment with their own. Puri, 844 F.3d at 1167. Thus, “[w]hen
             a church makes a personnel decision based on religious doctrine,” the
             “broader church autonomy doctrine” applies. Bryce v. Episcopal Church,
             289 F.3d 648, 656-58, 568 n.2, 660 (10th Cir. 2002).
                Bryce is illustrative. There, a church employee sued under Title VII,
             alleging that church officials’ statements opposing homosexuality and
             her same-sex union constituted sex discrimination. Id. at 651-53. The
             Tenth Circuit declined to decide whether the plaintiff was a “minister.”
             Id. at 658 n.2. Instead, it held that the “broader church autonomy
             doctrine” “extends beyond the specific ministerial exception” to include
             “personnel decision[s]” “rooted in religious belief.” Id. at 656-58, 658 n.2.




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             Because the plaintiff challenged “a personnel decision based on religious
             doctrine,” her suit was barred. Id. at 660.

                Butler v. St. Stanislaus Kostka Catholic Academy agreed. There, the
             court found that, “[e]ven if [plaintiff] did not qualify as a ministerial
             employee,” the “long recognized” and “broader” “church autonomy

             doctrine” barred a Title VII sexual-orientation discrimination claim. 609
             F. Supp. 3d 184, 198, 204 (E.D.N.Y. 2022). The court found that the
             religious employer had established a valid legal reason for the plaintiff’s
             termination just days into his tenure: that he violated Catholic beliefs
             on same-sex marriage. Id. at 203. Thus, his claim could survive only if
             he submitted sufficient evidence to show that this religious reason was

             pretextual—which he didn’t. Id.
                Other courts have also applied church autonomy to bar employment
             claims even when the employee wasn’t a minister. See, e.g., Darren
             Patterson Christian Acad. v. Roy, 699 F. Supp. 3d 1163, 1174, 1185 (D.
             Colo. 2023) (protecting religiously motivated employment decisions for
             non-ministers from imposition of non-discrimination standards);
             Garrick v. Moody Bible Inst., 412 F. Supp. 3d 859, 871-73 (N.D. Ill. 2019)
             (citing Bryce, applying “overarching principle of religious autonomy” to
             dismiss challenge to doctrinally rooted employment decision, regardless
             of whether plaintiff was a minister); Aparicio v. Christian Union, No. 18-
             cv-592, 2019 WL 1437618, at *9 (S.D.N.Y. Mar. 29, 2019) (Free Exercise
             Clause barred non-minister’s Title VII sex discrimination claim);


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             Brazauskas v. Fort Wayne-S. Bend Diocese, 796 N.E.2d 286, 293-94, 296
             (Ind. 2003) (citing Bryce to bar tortious-interference claim against

             Archdiocese, though plaintiff lacked “ministerial-type duties”).

                    2. McMahon’s claims violate the Religion Clauses’
                       protection for religious membership standards.
                That analysis applies here. World Vision’s personnel decision is
             protected by the Religion Clauses because it is undisputedly grounded in
             its sincere religious belief that McMahon did not comply with “the
             standard of morals” required to be a member of its ministry.
             Milivojevich, 426 U.S. at 713-14.

                McMahon concedes that she sought a role within World Vision’s
             religious community where she was required to abide by its religious
             standards of conduct—and that she did not and would not do so. 2-ER-
             150; 5-ER-1047. Indeed, she publicly condemned World Vision’s beliefs
             on marriage as “hate,” and sees them as “very wrong,” the product of
             “pick[ing] and choos[ing] parts of the Bible” to affirm. 2-ER-120, 125,
             147.     Instead     of   “wholeheartedly”        affirming     World     Vision’s
             understanding of Christianity, 3-ER-458, she believes that “Christianity
             is so fluid” that even World Vision’s beliefs about the resurrection and

             deity of Jesus Christ are non-essential, 2-ER-143–45. And far from being
             “comfortable” defending World Vision’s religious views on marriage, she
             felt it necessary to sue World Vision as an act of advocacy against its

             beliefs. 2-ER-152, 166.


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                McMahon accordingly admits that World Vision’s decision to rescind
             her job offer was “based on religious doctrine,” Bryce, 289 F.3d at 660—

             namely, her rejection and violation of religious standards that are
             essential to being a member of World Vision’s religious community. 2-
             ER-161; 2-ER-268–69.

                Where, as here, “the question of who is and is not a member
             depends … on religious practice,” then it “falls squarely within the realm
             of matters insulated from civil court review.” Askew v. Trs. of Gen.
             Assembly of Church of Lord Jesus Christ, 684 F.3d 413, 419 (3d Cir.
             2012); Does 1-11 v. Bd. of Regents, 100 F.4th 1251, 1271 (10th Cir. 2024)
             (government cannot “impose its own ideas about which believers [a]re

             valid members of which religious sects”); accord Butler, 609 F. Supp. 3d
             at 204. Selecting faithful representatives is key to religious autonomy,
             which is why there is hardly a “clearer example of an intrusion into the
             internal structure or affairs” of a religious group than to “force[ ] the
             group to accept members it does not desire.” Christian Legal Soc’y v.
             Walker, 453 F.3d 853, 861-63 (7th Cir. 2006). That is also why courts
             have long protected religious employers’ right “to employ only persons
             whose beliefs and conduct are consistent with the[ir] … religious
             precepts.” Little v. Wuerl, 929 F.2d 944, 951 (3d Cir. 1991).
                But here, McMahon rejects World Vision’s religious precepts and
             seeks to enlist the government to penalize World Vision for a religious
             decision about who is religiously qualified to carry out World Vision’s


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             religious mission. Thus, McMahon’s claims “would impermissibly inject
             the auspices of government into religious doctrine and governance.”

             Garrick, 412 F. Supp. 3d at 872.
                    3. The district court’s contrary conclusion was in error.
                The district court initially agreed, approvingly citing Bryce and Butler
             and noting that McMahon had failed to “rebut the numerous cases cited
             by World Vision” supporting its church autonomy rights. 1-ER-92–94.

             Because World Vision had a sincere religious reason for finding
             McMahon failed to meet its religious standards for ministry, and since
             McMahon agreed that reason wasn’t pretextual, the court dismissed
             McMahon’s claims. 1-ER-97.
                The next month, the district court reversed itself. 1-ER-60. The court
             still agreed that World Vision’s religious justification was “undisputed.”
             1-ER-64. But now it determined this meant church autonomy was
             irrelevant. Because World Vision’s religious standards were “facially
             discriminatory,” and McMahon supposedly wasn’t asking for a pretext
             inquiry into “the reasonableness, validity, or truth” of World Vision’s
             beliefs, the court saw no autonomy interest at stake. 1-ER-69–70. On
             this view, the Religion Clauses protect against pretext inquiries into the

             reasons why a religious organization chooses to disassociate with an
             employee—but they provide no protection for the decision itself.
                That is wrong. The First Amendment ensures religious groups can

             “decide for themselves, free from state interference, matters of church


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             government as well as those of faith and doctrine.” Kedroff, 344 U.S. at
             116 (emphasis added); Bryce, 289 F.3d at 655 (“churches have autonomy

             in making decisions regarding their own internal affairs” (emphasis
             added)); Butler, 609 F. Supp. 3d at 199 (protecting “right to decide”
             religious matters (emphasis added)). To be sure, restricting pretext

             inquiries reduces government entanglement in religious questions. But
             leaving the act of decision wholly unprotected and fixating instead on
             pretext “misses the point,” Hosanna-Tabor, 565 U.S. at 194, and makes
             religious      groups   subject    to   unprecedented       “secular       control   or
             manipulation,” Kedroff, 344 U.S. at 116.
                The district court identified zero cases reaching its startling

             conclusion. And it simply ignored the contrary holdings in Bryce and the
             “numerous” other cases it previously found to support World Vision—
             none of which treated “pretext” concerns as dispositive.
                The district court suggested Puri v. Khalsa supported its ruling. 1-
             ER-69 (citing 844 F.3d at 1166). But Puri illustrates the ruling’s error.
             There, plaintiffs sued over being denied positions on the board of a
             company that owned a Sikh religious group. Puri, 844 F.3d at 1157. This
             Court found that church autonomy wasn’t implicated because the
             defendants didn’t provide “a religious justification” for denying the board
             positions, and didn’t claim that plaintiffs failed to meet the “religious
             eligibility requirements” for the positions. Id. at 1167. Thus, the dispute
             could be resolved by reference to “neutral principles of law” instead of


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             deference to defendants’ religious judgments. Id. at 1167-68. The
             opposite is true here: World Vision did provide religious justifications

             and did determine that McMahon failed to meet its religious eligibility
             requirements. There is “no neutral principle of law” available to gainsay
             World Vision’s determination that McMahon didn’t conduct “her life in a

             manner consistent with church doctrine.” Askew, 684 F.3d at 419.
                For proof, this Court need look no further than the rulings in this case.
             Far from being religiously neutral, the rulings below squarely reject
             World Vision’s sincere understanding of “how important” its religious
             standards are to its “overall mission.” Hosanna-Tabor, 565 U.S. at 206
             (Alito, J., joined by Kagan, J., concurring). World Vision emphasized that

             a “common commitment” to “faithfulness in biblical belief and conduct”
             is “indispensable” to “being a credible witness to Jesus Christ,” and that
             employing representatives in a “same-sex marriage contradicts its
             Biblical … witness” in “several ways,” including by having public-facing
             staff taking “an ongoing public stance” against its religious beliefs and
             standards. 3-ER-451 ¶49; 3-ER-549; 3-ER-588; 2-ER-267. Yet the district
             court determined that “nothing” in the record even suggested that
             rejecting World Vision’s beliefs was relevant to “pray[ing] with donors,”
             “participat[ing] in devotions and chapel,” or World Vision’s “very
             mission.” 1-ER-40, 49. Such civil “scrutinizing” of “how a religious
             [group] pursues its [religious] mission” is unconstitutional “state
             entanglement with religion.” Carson v. Makin, 596 U.S. 767, 787 (2022).


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             It also blinks reality: the “credibility” of a religion “depend[s] vitally” on
             the “conduct” of its representatives. Hosanna-Tabor, 565 U.S. at 201, 206

             (Alito, J., joined by Kagan, J., concurring).
                Moreover, the supposedly “neutral” litigation in this case is more
             entangling than in many pretext cases. Take NLRB v. Catholic Bishop,

             a leading case recognizing that the “very process” of pretext inquiry can
             “impinge on rights guaranteed by the Religion Clauses.” 440 U.S. 490,
             502 (1979). There, the Supreme Court found it concerning when the
             government probed “how many liturgies are required at Catholic
             parochial high schools[.]” Id. at 502 n.10, 507-08. But here, World Vision
             officials were deposed about “different prayers in the Christian faith,” 2-

             ER-354; why “the belief in traditional marriage [is] so important to
             World Vision”; whether “being gay is prohibited in the Bible” in “Chapter
             20, verse 13, in the Book of Leviticus”; and whether “homosexuality
             violated the covenants of the Bible,” 2-ER-386–87, 389. Those theological
             inquiries—enforced by the power of a civil court—are far more
             entangling than adding up school liturgies.
                The result here is also far more intrusive than in Catholic Bishop.
             There, the diocese had to bargain collectively over the terms of
             employment with qualified teachers it willingly employed. Here, World
             Vision must employ individuals against its will after it has sincerely
             found those individuals religiously disqualified—or else suffer massive
             penalties. Thus, under Catholic Bishop, this is an a fortiori case.


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                World Vision declined to make McMahon the voice and face of its
             ministry because she rejected its religious standards of conduct. That is

             a protected “internal management decision” closely tied to World
             Vision’s “central mission.” Our Lady, 595 U.S. at 746. The district court’s
             contrary rule would subject World Vision and every other religious

             employer—including houses of worship—to the “risk [of] substantial
             damages every time” a religious dissenter isn’t hired, and thus would “in
             the long run have the same effect as prohibiting” religious hiring
             practices and “compel[ling religious employers] to abandon part of [their]
             religious teachings.” Paul, 819 F.2d at 881. This Court should reject that
             unprecedented intrusion into the formation of religious communities.

             II. McMahon’s claims are barred by Title VII and the WLAD.
                Title VII and the WLAD also protect World Vision’s religious exercise.
             First, they contain exemptions that protect an employer’s religious hiring
             practices. Second, they permit employers to enforce sex-based BFOQs to
             protect their religious mission. Both protections bar McMahon’s claims.
                A. The statutory religious exemptions apply.
                    1. Title VII
                As a “legislative application[ ] of the church-autonomy doctrine,” Korte
             v. Sebelius, 735 F.3d 654, 678 (7th Cir. 2013), Congress exempted
             religious employers from the requirements of Title VII when they make
             employment decisions based on an individual’s religious belief or conduct.




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                The statute’s religious exemption provides as follows:
                    This subchapter shall not apply to … a religious
                    corporation … with respect to the employment of individuals
                    of a particular religion[.]
             42 U.S.C. § 2000e-1(a).
                World Vision is a religious corporation under this exemption. Spencer,

             633 F.3d at 724. So the only question is the exemption’s scope.
                The exemption’s text is straightforward. As this Court has already
             recognized, the “subchapter” covered is all of Title VII. See Garcia v.
             Salvation Army, 918 F.3d 997, 1004 (9th Cir. 2019) (Congress
             “exempt[ed] religious organizations from the entire subchapter of Title
             VII”); Civil Rights Act of 1964, Pub. L. No. 88-352, § 702, 78 Stat. 241,
             255 (1964). And Title VII expressly defines “religion”: it includes “all
             aspects of religious observance and practice, as well as belief.” 42 U.S.C.
             § 2000e(j). “When a statute includes an explicit definition, [courts] must

             follow” it. Digit. Realty Tr. v. Somers, 583 U.S. 149, 160 (2018). Doing so
             here yields the following: “This subchapter [i.e., Title VII] shall not apply
             to” a religious employer “with respect to the employment of individuals

             of a particular” religious “belief,” “observance,” or “practice.” 42 U.S.C.
             §§ 2000e-1(a), 2000e(j). Thus, the meaning is clear: When a religious
             employer engages in the relevant conduct—making an employment
             decision based on an individual’s religious “belief,” “observance,” or
             “practice”—Title VII doesn’t apply, no matter how the plaintiff styles her
             claims.


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                That plain-text reading forecloses McMahon’s claims. World Vision
             rescinded McMahon’s job offer because of her religious “belief” and

             “practice” contravening traditional marriage. Under the exemption, Title
             VII does not apply to that decision. Starkey, 41 F.4th at 946 (Easterbrook,
             J., concurring) (“[W]hen the decision is founded on religious beliefs, then

             all of Title VII drops out.”); Fitzgerald v. Roncalli High Sch., 73 F.4th
             529, 534 (7th Cir. 2023) (Brennan, J., concurring) (same); Billard, 101
             F.4th at 335 (King, J., dissenting in part) (calling this the most
             “straightforward reading”).
                The point is further reinforced by the other half of § 2000e-1(a)—the
             “alien” exemption. Section 2000e-1(a) includes an exemption introduced

             with the same language: “This subchapter shall not apply to an employer
             with respect to the employment of aliens outside any State ….” (emphasis
             added). If the religious exemption were somehow limited only to certain
             types of Title VII claims (religious discrimination), one would expect the
             alien exemption to have a parallel limitation (claims of race or national-
             origin discrimination). But courts have (rightly) imposed no such
             limitations. See Bear Creek Bible Church v. EEOC, 571 F. Supp. 3d 571,
             591 (N.D. Tex. 2021), rev’d in part on other grounds, 70 F.4th 914 (5th
             Cir. 2023).
                Caselaw, though divergent among lower courts, also confirms World
             Vision’s reading. For example, in Curay-Cramer v. Ursuline Academy,
             the Third Circuit applied the religious exemption to a sex discrimination


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             claim brought by a teacher against a Catholic school that terminated her
             for her pro-choice advocacy. 450 F.3d 130, 132 (3d Cir. 2006). Because the

             school     had     “offer[ed]    a   religious    justification”    and     Congress
             “intended … to enable religious organizations to create and maintain
             communities composed solely of individuals faithful to their doctrinal

             practices,” her claim was barred, even though she complained of sex (not
             religious) discrimination. Id. at 141-42; see also EEOC v. Miss. Coll., 626
             F.2d 477, 485 (5th Cir. 1980); Bear Creek, 571 F. Supp. 3d at 590-92;
             Maguire v. Marquette Univ., 627 F. Supp. 1499, 1502-04 (E.D. Wis. 1986),
             vacated in part on other grounds, 814 F.2d 1213 (7th Cir. 1987).
                Here, McMahon doesn’t dispute that her religious belief and practice

             was the basis for World Vision’s decision. Because her claim is
             “prohibited by [the statute’s] plain terms,” that is “the end of the [Title
             VII] analysis.” Bostock v. Clayton County, 590 U.S. 644, 662 (2020).
                The district court suggested that the exemption protects only against
             claims of religious discrimination—not sex discrimination—citing EEOC
             v. Fremont Christian School, 781 F.2d 1362, 1365-66 (9th Cir. 1986), and
             EEOC v. Pacific Press Publishing Association, 676 F.2d 1272, 1276 (9th
             Cir. 1982); see 1-ER-27–28. But these decisions do not go nearly as far as
             the district court tried to press them.
                First, the sex discrimination claims in those cases arose from across-
             the-board policies based on the employer’s belief that it should
             compensate women less than men. Fremont, 781 F.2d at 1364-65


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             (insurance benefits provided to married men but not married women);
             Pac. Press, 676 F.2d at 1275 (higher allowances paid to married men than

             female employees). But what triggers the religious exemption are
             employment decisions made because of an employee’s particular religious
             beliefs or practices. See 42 U.S.C. § 2000e-1(a) (decision must be based on

             the need to employ “individuals of a particular religion”). The sex
             discrimination claims accordingly didn’t fall within the text of the
             religious exemption and thus didn’t require addressing whether the
             exemption bars sex discrimination claims.
                Second, to the extent those cases included dicta (or holdings) to the
             contrary, they have “been undermined by intervening Supreme Court

             authority,” and thus are “not binding.” Mendoza v. Zirkle Fruit, 301 F.3d
             1163, 1174 (9th Cir. 2002). As Bostock explained, Title VII’s “express
             statutory exception for religious organizations” is one of the “doctrines
             protecting religious liberty” that may bar a claim of sex discrimination.
             590 U.S. at 682. That statement would have made no sense if the
             exemption were limited to claims of religious discrimination. Moreover,
             Bostock made clear that Title VII must be interpreted according to its
             text, not legislative history, expectations, or purpose. Id. at 666, 670, 674,
             676. Fremont and Pacific Press did the inverse.
                Third, they have been undermined by Congress itself. When it recently
             passed the Pregnant Workers Fairness Act (PWFA), Congress expressly
             incorporated Title VII’s religious exemption. 42 U.S.C. § 2000gg-5(b). In


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             so doing, Congress made clear that the exemption must apply to more
             than religious discrimination. Otherwise, its incorporation would have

             made no sense, given that the PWFA does not proscribe religious
             discrimination. Louisiana v. EEOC, --- F. Supp. 3d ---, No. 2:24-cv-629,
             2024 WL 3034006, at *12 (W.D. La. June 17, 2024) (argument that

             exemption covers “only” “religious discrimination” “does not square with
             the PWFA”).
                In sum, the plain language of the exemption protects World Vision
             here; any contrary dicta in Fremont and Pacific Press have been
             superseded by both Supreme Court precedent and Congressional action.
                      2. The WLAD

                The WLAD’s religious exemption similarly bars McMahon’s state-law
             claims. See Wash. Rev. Code § 49.60.040(11). This exemption applies to
             claims like McMahon’s covered by the “ministerial exception.” 1-ER-29
             (citing Woods v. Seattle’s Union Gospel Mission, 481 P.3d 1060, 1067-70
             (Wash. 2021)). Because the exception applies, the exemption does too.
                B. The bona fide occupational qualification defenses apply.
                McMahon’s claims also fail under Title VII’s and WLAD’s BFOQ
             defenses. These defenses allow employers to consider sex in hiring
             decisions when sex is a BFOQ “reasonably necessary to the normal
             operation” of the “enterprise.” 42 U.S.C. § 2000e-2(e); see also Wash. Rev.
             Code § 49.60.180(1) (permitting BFOQ defense to sex, marital status, and
             sexual orientation discrimination).


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                The defense generally applies when two things are true. First, the
             qualification must “affect an employee’s ability to do the job.” See Int’l

             Union v. Johnson Controls, 499 U.S. 187, 201 (1991); Hegwine v.
             Longview Fibre Co., 172 P.3d 688, 698 (Wash. 2007). Second, the
             qualification must be “related to” the organization’s “central mission,”

             Int’l Union, 499 U.S. at 202-03, or “essence,” Hegwine, 172 P.3d at 698.
                Both prongs are met. World Vision sincerely believes that a
             representative who refuses to comply with and defend its beliefs cannot
             effectively perform the role’s religious duties. And requiring World Vision
             to employ representatives in same-sex relationships would undercut its
             mission, which is exactly the result caselaw seeks to avoid. See McCollum

             v. Cal. Dep’t of Corr., 647 F.3d 870, 881 (9th Cir. 2011) (it was “necessary”
             to consider religion in hiring for “the paid chaplaincy program,” which
             “was adopted to accommodate the religious beliefs of inmates” (cleaned
             up)); Chambers v. Omaha Girls Club, 834 F.2d 697, 698-99, 704-05 (8th
             Cir. 1987) (upholding “role model rule” against single-parent pregnancies
             because employer’s “purpose” included “model[ing]” “behavior” and
             teenage “pregnancy prevention”). That harm also distinguishes EEOC v.
             Kamehameha Schools, where the employer’s mission was not religious
             and the discrimination at issue was not job-related or necessary to the
             school’s mission. 990 F.2d 458, 465-67 (9th Cir. 1993). Thus, World Vision
             has a “strong argument that belief in [its] Statement of Faith … is a
             BFOQ.” Spencer, 633 F.3d at 756 (Berzon, J., dissenting).


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             III. McMahon’s claims are barred by the freedom of expressive
                  association.
                McMahon’s claims are also barred by the First Amendment’s
             protection for “expressive association.” 303 Creative LLC v. Elenis, 600
             U.S. 570, 586 (2023). This doctrine protects both the right “to associate

             with others” for expressive purposes and the right “not to associate.”
             Roberts v. U.S. Jaycees, 468 U.S. 609, 622-23 (1984). “Government
             actions that may unconstitutionally burden this freedom may take many
             forms, one of which is ‘intrusion into the internal structure or affairs of
             an association.’” Dale, 530 U.S. at 648. And “[t]here can be no clearer
             example of [such] an intrusion … than a regulation that forces the group

             to accept members it does not desire.” Roberts, 468 U.S. at 623.
                The leading case is Dale. There, a former scoutmaster sued the Boy
             Scouts, claiming his dismissal for being a “gay rights activist” constituted
             sexual-orientation discrimination. 530 U.S. 643-45. But the Court held
             that the First Amendment foreclosed this claim because requiring the
             Boy Scouts to retain the plaintiff would impermissibly “force the [Boy

             Scouts] to send a message, both to the youth members and the world, that
             [it] accepts homosexual conduct as a legitimate form of behavior.” Id. at
             648, 653. Thus, “forcing the Scouts to include Mr. Dale would ‘interfere

             with [its] choice not to propound a point of view contrary to its beliefs.’”
             303 Creative, 600 U.S. at 586 (quoting Dale, 530 U.S. at 654).




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                Similarly, in Slattery v. Hochul, a pro-life pregnancy center challenged
             a state law that prohibited employment discrimination based on

             “reproductive health decision[s],” claiming the law violated expressive
             association by “preventing [the center] from disassociating itself from
             employees who … seek abortions.” 61 F.4th 278, 283 (2d Cir. 2023).

             Applying Dale, the Second Circuit held that the law violated expressive
             association. “The right to expressive association allows [the center] to
             determine that its message will be effectively conveyed only by employees
             who sincerely share its views.” Id. at 288.
                Many other cases have reached similar conclusions. See Hurley v.
             Irish-Am. Gay, Lesbian & Bisexual Grp., 515 U.S. 557, 574-75 (1995)

             (forcing parade to include LGBT group would violate associational
             rights); Walker, 453 F.3d at 861-64 (forcing student group to include
             practicing homosexuals would violate associational rights); Green v. Miss
             United States of Am., 52 F.4th 773, 803-08 (9th Cir. 2022) (VanDyke, J.,
             concurring) (forcing pageant to include transgender participant would
             violate associational rights). And courts have relied on the same
             principles to protect LGBTQ associational rights. See Apilado v. N. Am.
             Gay Amateur Athletic All., No. 2:10-cv-682, 2011 WL 5563206, at *1-3
             (W.D. Wash. Nov. 10, 2011) (protecting right of gay athletic organization
             to exclude straight persons); Westenbroek v. Kappa Kappa Gamma
             Fraternity, No. 2:23-cv-51, 2023 WL 5533307, at *13-15 (D. Wyo. Aug. 25,
             2023) (protecting right of sorority to admit transgender member).


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                A. McMahon’s claims infringe the freedom of association.
                Under Dale, an expressive-association defense requires a court to

             address two questions: whether the organization “engage[s] in some form
             of expression,” either “public or private”; and whether the forced
             association would “significantly affect [its] ability to advocate” for its

             viewpoints. 530 U.S. at 648, 650. The court must “give deference to [the]
             association’s assertions regarding the nature of its expression” and its
             “view of what would impair [that] expression.” Id. at 653. If the answer
             to both questions is yes, “the First Amendment prohibits” the forced
             association, absent satisfaction of strict scrutiny. Id. at 648, 659. World
             Vision meets both elements.

                First, “[r]eligious groups” like World Vision are “the archetype of
             associations formed for expressive purposes,” since their “very existence
             is dedicated to the collective expression and propagation of shared
             religious ideals.” Hosanna-Tabor, 565 U.S. at 200 (Alito, J., joined by
             Kagan, J., concurring). It is “indisputable that an association that seeks
             to transmit … a system of values engages in expressive activity.” Dale,
             530 U.S. at 650.
                Second, World Vision’s ability to express its faith would be severely
             impaired were it forced to employ persons who publicly contradict its
             faith. 3-ER-548; 3-ER-582–83. As Slattery recognized, “‘[i]t would be
             difficult,’ to say the least, for an organization ‘to sincerely and effectively
             convey a message of disapproval of certain types of conduct if, at the same


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             time, it must accept members who engage in that conduct.’” 61 F.4th at
             290; accord Apilado v. N. Am. Gay Amateur Athletic All., 792 F. Supp. 2d

             1151, 1162 (W.D. Wash. 2011) (gay softball league could not maintain “a
             gay identity” if it could not exclude heterosexual men). Forcing a religious
             group with traditional beliefs on marriage “to accept as members those

             who engage in … homosexual conduct would cause the group as it
             currently identifies itself to cease to exist.” Walker, 453 F.3d at 863.
                McMahon essentially agrees. Her self-stated goal in this lawsuit was
             to “advocate[ ]” against World Vision’s religious standards and render its
             religious expression “illegal.” 2-ER-166. Her claims thus “severely
             burden[ ]” World Vision’s associational rights “by foreclosing” its “ability

             to reject employees whose actions suggest that they believe the opposite
             of the message it is trying to convey.” Slattery, 61 F.4th at 288.
                B. McMahon failed to provide adequate justification for this
                   infringement.
                Because World Vision satisfies both prongs, McMahon’s claims must
             pass strict scrutiny, meaning they must advance “compelling state
             interests … that cannot be achieved” through “less restrictive” means.
             Dale, 530 U.S. at 648. That standard—“the most demanding test known

             to constitutional law”—cannot be met here. City of Boerne v. Flores, 521
             U.S. 507, 534 (1997).
                Compelling Interest. To satisfy strict scrutiny, McMahon cannot rely
             on a general “interest in eliminating discrimination,” Dale, 530 U.S. at



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             657, 659; rather, she must show a compelling interest as applied to World
             Vision. Fulton, 593 U.S. at 541; Green, 52 F.4th at 791. But here, there is

             no compelling interest in forcing World Vision to rely on vocal religious
             dissenters to serve as the “voice, face, and heart” of its religious message.
                That’s particularly true given the imbalance of harms between the

             parties. Slattery, 61 F.4th at 289. If the Court protects World Vision’s
             “right to exclude” employees who reject its religious standards of conduct,
             McMahon’s “right to be free of discrimination” is “impaired only to the
             limited extent” that she “cannot join the specific group” that “oppose[s]”
             her conduct. Id. But requiring World Vision “to accept members who
             engage in the conduct” it opposes “would severely burden” its “right of

             expressive association.” Id. at 289-90 (emphasis added); accord Green, 52
             F.4th at 792 (imbalance undermines interest); Apilado, 2011 WL
             5563206, at *3 (Washington’s interest in eradicating sexual-orientation
             discrimination did not outweigh LGBTQ group’s interest in excluding
             heterosexual members).
                Further, given that Title VII and the WLAD recognize broad
             exemptions covering numerous employers, the statutes do not even treat
             their own nondiscrimination interests as sufficiently compelling. A law
             cannot “be regarded as protecting an interest of the highest order” where
             “it leaves appreciable damage to [the] supposedly vital interest
             unprohibited.” Church of Lukumi Babalu Aye v. City of Hialeah, 508 U.S.
             520, 547 (1993) (cleaned up). But that is exactly what these laws do.


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                 In addition to the religious, alien, and BFOQ exemptions discussed
             above, Title VII exempts:
                    • employers with fewer than fifteen employees, 42 U.S.C.
                      § 2000e(b);
                    • employment decisions by a “bona fide private membership club,”
                      id.;
                    • employment decisions regarding employees in foreign countries
                      if complying with Title VII would violate the law of that country,
                      id. at § 2000e-1(b);
                    • termination of employees who are members of the Communist
                      Party, id. § 2000e-2(f),
                    • race or national-origin discrimination in favor of Indians by
                      employers on or near Indian reservations, id. § 2000e-2(i).

                 The WLAD also has religious and BFOQ exemptions, an exemption for
             small employers, and exemptions for employment of family members or
             domestic workers, Wash. Rev. Code. §§ 49.60.040(10), (11), 49.60.180(1).
                 The small employer exceptions alone belie any assertion that the
             government’s interest can “brook no departures.” Fulton, 593 U.S. at 542.
             Title VII’s exemption covers about 80 percent of employers nationwide—
             and millions of private-sector employees.5 There is no compelling interest
             in forcing a religious nonprofit to hire representatives who reject its core
             religious standards when most for-profits can fire for any reason. Id.

             5  See Facts & Data on Small Business and Entrepreneurship, Small
             Business & Entrepreneurship Council, https://perma.cc/MU32-NZ44;
             Richard Carlson, The Small Firm Exemption and the Single Employer
             Doctrine in Employment Discrimination Law, 80 St. John’s L. Rev. 1197,
             1198-99, 1199 n.14 (2006).


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                The private-club exemption proves the same thing. 42 U.S.C.
             § 2000e(b)(2). Tax-exempt private clubs are eligible for the exemption if,

             inter alia, they set “meaningful conditions of limited membership,” such
             as “eligibility requirements.” EEOC v. Chi. Club, 86 F.3d 1423, 1433 (7th
             Cir. 1996); accord Section 2 Threshold Issues, EEOC (§ 4(a)(II)(c)),

             https://perma.cc/ZH28-3GN8. There is no compelling reason to ban World
             Vision’s religious “eligibility requirements” for “membership” while
             broadly protecting secular requirements for private clubs and exempting
             their employment decisions altogether.
                The same is true with BFOQ exemptions, which allow discrimination
             where it is “reasonably necessary” to the “normal operation of a

             particular business or enterprise.” 42 U.S.C § 2000e-2(e)(1). For example,
             the EEOC “consider[s] sex to be a” BFOQ justifying hiring “an actor or
             actress” where it enhances “authenticity or genuineness.” 29 C.F.R.
             § 1604.2(a)(2). There isn’t a compelling reason to allow Hamilton to cast
             based on race, Green, 52 F.4th at 781-82, but forbid World Vision from
             hiring based on religious standards.
                Finally, Title VII’s religious exemption makes the point clearer yet.
             Even under the district court’s narrow view, the exact same conduct
             complained of here would be completely exempted if McMahon had styled
             her claim as “religious” discrimination instead of “sex” discrimination.
             The viability of her claim thus turns entirely on its label. See Garcia, 918
             F.3d at 1005. That’s not compelling.


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                Least Restrictive Means. Nor is any interest sufficiently tailored.
             Dale, 530 U.S. at 648. In fact, a less restrictive means has already been

             identified: the one recognized in Title VII’s religious exemption, which
             protects a religious employer when the reason for its personnel decision
             is rooted in an employee’s religious beliefs or practices. See supra at 43-

             44. The government’s “establish[ment of] an accommodation for nonprofit
             organizations with religious objections” means the government “itself has
             demonstrated that it has at its disposal an approach that is less
             restrictive.” Burwell v. Hobby Lobby Stores, 573 U.S. 682, 730 (2014).
                C. The district court erred in refusing to apply freedom of
                   association.
                The district court didn’t contest that World Vision is an expressive
             association. Instead, it rejected associational rights on the grounds that
             World Vision’s “very mission is not to oppose or discourage same-sex
             marriage” but rather to “follow” Christ, “work[ ] with the poor,” “seek
             justice,” and “bear witness to the good news of the Kingdom of God.” 1-
             ER-49 (emphasis added). But that is a false distinction—and one that
             fails to give the required “deference to [World Vision’s] assertions
             regarding the nature of its expression” and its “view of what would impair

             [that] expression.” Dale, 530 U.S. at 653; see also Democratic Party of
             U.S. v. Wisconsin, 450 U.S. 107, 123-24 (1981) (in such matters, “a [s]tate,
             or a court, may not constitutionally substitute its own judgment for that
             of” an expressive association).



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                It is also the same argument the Court rejected in Dale. There,
             opposition to homosexuality obviously wasn’t the Boy Scout’s “very

             mission,” 1-ER-49; indeed, the Scouts’ “central tenets” arguably did not
             “say[ ] the slightest thing about homosexuality,” 530 U.S. at 665-68
             (Stevens, J., dissenting). Yet the Court held that “associations do not

             have to associate for the ‘purpose’ of disseminating a certain message in
             order to be entitled to the protections of the First Amendment.” Id. at
             655. The same analysis applies even more obviously here—not only
             because World Vision’s teaching on marriage is far clearer than anything
             the Scouts ever said in Dale, but also because it is a religious group,
             whose “fundamental rights surely include the freedom to choose who is

             qualified as a voice for their faith.” Hosanna-Tabor, 565 U.S. at 200-01
             (Alito, J., joined by Kagan, J., concurring).
                The district court also denied that “employment discrimination
             claims” “implicate … expressive associational rights” at all. 1-ER-48
             (citing Hishon v. King & Spalding, 467 U.S. 69 (1984)). But that view is
             inconsistent with the law of this Circuit, Green, 52 F.4th at 781-82; would
             create a split with the Second Circuit, see Slattery, 61 F.4th at 286-91;
             was rejected by the Solicitor General on behalf of EEOC before the
             Supreme Court, Hosanna-Tabor, 565 U.S. at 189; and is wrong. As
             numerous cases prove, there is no employment-law exception to the First




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             Amendment. 6 Nor did Hishon hold otherwise. Rather, it decided that the
             corporate-law-firm defendant hadn’t shown that the expression of its

             “ideas and beliefs” would be “inhibited” there. 467 U.S. at 78. But they
             would here, barring McMahon’s claims.
             IV. McMahon’s claims are barred by the Free Exercise Clause.
                 The Free Exercise Clause also bars McMahon’s Title VII and WLAD
             claims because, as applied here, the statutes are not neutral and
             generally applicable. Under “bedrock” law, “a purportedly neutral

             ‘generally     applicable’   policy   may     not    have    ‘a   mechanism     for
             individualized      exemptions’”       and    “the     government         may   not
             ‘treat ... secular activity more favorably than religious exercise.’”
             Fellowship of Christian Athletes v. San Jose Unified Sch. Dist., 82 F.4th
             664, 686 (9th Cir. 2023) (en banc) (quoting Fulton, 593 U.S.at 533, and
             Tandon, 593 U.S. at 62). Title VII and the WLAD do both.
                 First, a policy burdening religion that reserves discretion for the
             government “to decide which reasons for not complying with the policy
             are worthy of solicitude” is not generally applicable. Fulton, 593 U.S. at


             6   See, e.g., Slattery, 61 F.4th at 288-91; Boy Scouts of Am. v. Wyman,
             335 F.3d 80, 89, 91 (2d Cir. 2003); Moore v. Hadestown Broadway LLC,
             --- F.Supp.3d ---, No. 23-cv-4837, 2024 WL 989843, at *19 (S.D.N.Y. Mar.
             7, 2024); Darren Patterson, 699 F. Supp. 3d at 1184-85; Bear Creek, 571
             F. Supp. 3d at 614-16; Our Lady’s Inn v. City of St. Louis, 349 F. Supp.
             3d 805, 822 (E.D. Mo. 2018); Priests for Life v. HHS, 7 F. Supp. 3d 88, 109
             (D.D.C. 2013).


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             537; FCA, 82 F.4th at 687. BFOQ defenses create precisely this kind of
             discretion by excusing discrimination if it is deemed “reasonably

             necessary.” Supra at 48-49. This requires an individualized case-by-case
             inquiry into what is “justified under the circumstances” of each situation.
             See Teamsters Loc. Union v. Wash. Dep’t of Corr., 789 F.3d 979, 987 (9th

             Cir. 2015). Allowing “exemptions based on the circumstances underlying
             each application” triggers strict scrutiny. Fulton, 593 U.S. at 534.
                Second, if a law “treat[s] any comparable secular activity more
             favorably than religious exercise,” it must pass strict scrutiny. Tandon,
             593 U.S. at 62. Both Title VII and the WLAD do exactly this, exempting
             employment decisions on myriad grounds. Supra at 55. The small-

             business exemption alone allows most for-profits to make the same
             decision World Vision did here simply due to their size. Small Business
             Size Standards at 5, Congressional Research Service (June 15, 2022),
             https://perma.cc/Y7ER-XLLU. These exemptions undermine general
             applicability and thus require strict scrutiny. FCA, 82 F.4th at 688 (citing
             Tandon, 593 U.S. at 62); accord Bear Creek, 571 F. Supp. 3d at 613; Youth
             71Five Ministries v. Williams, No. 24-4101, 2024 WL 3749842, at *3 (9th
             Cir. Aug. 8, 2024) (protecting religious hiring policies against anti-
             discrimination rules when the rules allowed secular exceptions).
                The district court rejected both conclusions. First, it found that Fulton
             does not apply because the numerous exemptions are “categorical” and
             do “not depend on individualized discretion.” 1-ER-43. But the court


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             completely failed to account for the “case-by-case nature of the BFOQ
             analysis.” Everson v. Mich. Dep’t of Corr., 391 F.3d 737, 760 (6th Cir.

             2004). And “a case-by-case analysis is antithetical to a generally
             applicable policy.” FCA, 82 F.4th at 688.
                Next, the district court concluded that the exemptions were not

             comparable under Tandon because there isn’t an exact correspondence
             between the secular exemptions and the religious burdens. 1-ER-44. To
             the court, only “disparate treatment” between “small religious
             employers” and “small secular employers” counts. Id. But Tandon
             “summarily rejected” a rule like that, which compared only secular and
             religious in-home gatherings but refused to consider exempted

             “commercial activity in public buildings” that equally threatened the
             asserted interests for burdening religion. Compare Tandon, 593 U.S. at
             64, with Tandon v. Newsom, 992 F.3d 916, 923 (9th Cir. 2021).
                Rather, “[u]nder Tandon, ‘whether two activities are comparable for
             purposes of the Free Exercise Clause must be judged against the asserted
             government interest that justifies the regulation at issue.’” FCA, 82 F.4th
             at 689. “And in making these comparisons, the Court ‘is concerned with
             the risks various activities pose.’” Id. Here, the “object” of both “Title VII
             and WLAD” is to “eliminate discrimination in employment.” 1-ER-42.
             Allowing millions of secular employers to discriminate with impunity,
             solely because of their size, location, mission, or membership
             requirements poses a far greater risk to that objective than allowing


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             World Vision to make religious hiring decisions. McMahon’s claims thus
             again trigger, and again fail, strict scrutiny.

                                              CONCLUSION
                This Court should reverse and direct entry of summary judgment for
             World Vision.


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                                 CERTIFICATE OF COMPLIANCE

                I certify that this brief complies with the length limits permitted by
             Ninth Circuit Rule 32-1. The brief is 13,848 words, excluding the portions
             exempted by Fed. R. App. P. 32(f). The brief’s type size and type face

             comply with Fed. R. App. P. 32(a)(5) and (6).

                                                        /s/ Daniel H. Blomberg
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                I hereby certify that on August 21, 2024, the foregoing opening brief
             was filed electronically with the Clerk of the Court for the United States
             Court of Appeals for the Ninth Circuit through the Court’s AMCS system.

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